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                           IN THE UNITED STATES DISTRCT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

SOUTHWEST AIRLINES CO.,                   )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )                     Civil Action No. 5:24-cv-01085-XR
                                          )
THE CITY OF SAN ANTONIO, TEXAS and        )
JESUS SAENZ, in his official capacity as  )
Director of Airports for the City of San  )
Antonio, Texas,                           )
                                          )
               Defendants.                )
__________________________________________)


   PLAINTIFF’S DESIGNATION OF TESTIFYING EXPERT KIRK SHAFFER, ESQ.
        Pursuant to the Court’s Order at ECF No. 22 (and the parties’ subsequent agreement on

timing), Plaintiff Southwest Airlines Co. (“Plaintiff” or “Southwest”) hereby respectfully submits

this Designation of Testifying Expert Kirk Shaffer, Esq.:

        1. DESIGNATION OF PLAINTIFF’S TESTIYING EXPERT
Plaintiff designates Kirk Shaffer, Esq., Principal, D. Kirk Shaffer PLLC – Mr. Shaffer’s CV is
attached as Exhibit 1 hereto.
           KiShaf
        2. SUBJECT MATTER OF EXPERT TESTIMONY
The Airline Deregulation Act’s prohibition against state and local governments enforcing
provisions relating to air carrier routes and services applies to the criteria adopted by the City of
San Antonio for choosing the air carriers that have been selected to move into the new Terminal
C at SAT, and the application of the subjective, discretionary criteria adopted by the City for
selecting air carriers for Terminal C had the force and effect of law because satisfaction of such
criteria was the only means by which an air carrier could have access to the new gates at Terminal
C, and the competitive advantage that the carrier will have as a result of such access.

        3. SUMMARY OF THE FACTS AND OPINIONS TO WHICH THE EXPERT IS
           EXPECTED TO TESTIFY
                [This document is subject to supplementation and revision based
                 on additional facts uncovered during an ongoing investigation.]


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        1. The federal Airline Deregulation Act (hereinafter ADA), signed into law by President
           Jimmy Carter in 1978, was intended to phase out the Civil Aeronautics Board (“CAB”)
           and promote a competitive air transportation system governed by market forces. The
           CAB had for decades determined which airports air carrier airlines could serve; what
           routes they could fly and how often; the rates and charges the airlines could charge the
           traveling public; and what services the air carriers could offer. That ended with the
           ADA.

        2. The ADA was originally codified at Pub. L. No. 95-504, 92 Stat. 1705 (1978), H.R.
           Rep. No. 95-1211. The statute included provisions from the outset aimed at precluding
           federally-obligated airport owners/operators/sponsors at the State and local levels from
           imposing their own laws, regulations, or provisions impacting air carrier routes,
           services, and charges. Like many statutes, the ADA has been amended and re-codifed
           over the years, and the preemptive provisions of the statute now appears at Title 49
           U.S.C. § 41713(b)(1).

        3. The preemptive language’s current form is, “a State, political subdivision of a State, or
           political authority of at least two States may not enact or enforce a law, regulation, or
           other provision having the force and effect of law related to price, route, or service of
           an air carrier . . . .” As stated, the clear intent of Congress in passing the ADA was to
           remove State and local entities from regulating air carrier’s rates, routes, and services
           so that the competitive marketplace can operate freely. The current form of the
           preemptive language varies stylistically, but not substantively from the original statute
           which stated, “no State or political subdivision thereof and no interstate agency or other
           political agency of two or more States shall enact or enforce any law, rule, regulation,
           standard, or other provision having the force and effect of law relating to rates, routes,
           or service of any air carrier having authority under title IV of the Act to provide
           interstate air Transportation . . . .”

        4. Reported federal decisions have established that the current omission of the words
           “rule” and/or “standard” from the ADA preemptive language does not change the effect
           of the ADA nor stray from Congress’s clear intent that no State or local entity assume
           the CAB’s former, now ancient role as a regulator of air carriers’ rates, routes, and
           services. As intended by Congress, the air carrier airline industry is deregulated, and
           that includes deregulated from local political entities whose regulations, conditions,
           restrictions, and ordinances impact rates, routes, and service, which since 1978 have
           fallen into the sole purview of the certificated air carrier airlines like those serving San
           Antonio. In a competitive marketplace, they alone get to decide where they will fly,
           what they will charge, and which services they will offer, free from the desires or
           objectives of any federally-obligated airport owner/operator/sponsor.

        5. In that context it appears from the documents I have reviewed thus far (including the
           Airline Use and Lease Agreement (“AULA”) presented to the air carriers serving San
           Antonio and responses to various discovery, and which was attached to the City’s
           opposition to the motion for temporary restraining order), that the City of San Antonio


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             has crossed the line, both in its process and decision making in formulating the AULA,
             into territory which is preempted at the federal level.


        6. The bottom line here is that in 1978 the Congress made it clear that market forces,
           rather than government actors, would get to decide the nature of the air service and
           routes at a particular airport.    However, the City’s adoption of the subjective,
           discretionary factors selected for choosing air carriers to move to Terminal C once
           again causes government actors to take it on themselves to select air carriers for
           Terminal C based on impermissible considerations relating to air carrier service and
           routes. This is precisely the kind of government interference that the ADA was
           intended to abolish.

        7. This is most apparent in the use of subjective selection criteria in San Antonio’s gate
           assignment decisions. The record thus far reflects San Antonio’s consideration of
           various carriers routes (domestic v. international, for example), level of service (legacy
           including first class v. low cost or ultra-low cost), and “fit” in the local community and
           airport catchment area. Such subjective considerations are inappropriate because they
           directly impact the rates, routes, and services of certificated air carrier airlines serving
           San Antonio. Violations of the ADA can occur when the airlines’ cost of doing
           business in San Antonio is increased and those added expenses get added to the ticket
           prices charged to the traveling public. It can also occur when air carriers providing
           airport clubs or proposed clubs are preferred over carriers for which clubs find no place
           in their business model. It can occur when certain carriers are preferred over its
           competitors in order grow a carrier’s market share at the airport. And the list goes on.

        8. All of this is not to say that a federally-obligated airport owner/operator/sponsor cannot
           have a vision for what they want their airport to be in the future, what role they want
           their airport to play in the local community and economy, or what presently unserved
           destinations can be added to better serve the traveling public. In fact, setting that vision
           and establishing objectives to achieve that vision is exactly the role of the airport
           sponsor, whether that’s a state, city, county, or airport authority; but, the sponsor cannot
           use selection criteria which impinge on an air carrier’s rates, routes, or services in
           achieving its vision and supporting objectives. It is not the sponsor’s job, nor within
           the sponsor’s authority, to operate an air carrier with local rules, regulations, and
           ordinances when Congress has prohibited it. Rather, federally-obligated airport
           sponsors must employ objective, quantifiable criteria in evaluating air carrier
           participation in an airport’s operations and its infrastructure development, such as:


                 a.   The size of the aircraft,
                 b.   The weight of the aircraft,
                 c.   The existing and planned scheduled service,
                 d.   The amount of gate turns expected on a daily basis for the airline,
                 e.   The scope of the need for baggage handling services, and




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                 f. The need for access to the Federal Inspection Service for aircraft arriving from
                    foreign countries without pre-clearance facilities for the passengers flying to
                    the United States.


        9. This objective, neutral process is clearly reflected in current Federal Aviation
           Administration guidance on the subject. Specifically, FAA Advisory Circular
           150/5360-13A, Airport Terminal Planning, dated July 13, 2018, provides detailed
           guidance on passenger terminal design including the wide variety of factors which
           airports across our system utilize in planning for and developing terminal infrastructure
           for their communities.

        10. To be clear, an FAA advisory circular is not legally binding, as it is a non-regulatory
            document. It is also clear, however, that many stakeholders in the aviation industry
            consider them as binding due to the massive amount of effort which is invested in
            developing them and the detail which is contained in the finished product. This
            certainly appears to be the case with AC 150/53260-13A which not only goes on for a
            hundred pages detailing a wide variety of neutral factors which communities might
            consider in their terminal planning processes along with suggested mechanisms for
            evaluating pertinent facts but also provides the reader with a multitude of references,
            not the least of which are a variety of research projects funded by the Federal Aviation
            Administration and performed by the Airports Cooperative Research Program of the
            National Academies of Science.


        11. Likewise, the FAA refers airports to the International Air Transport Association’s
            Airport Development Reference Manual, which IATA bills as “the industry’s most
            important guide for airport planning and development.” The ADRM appears to be just
            as detailed and just as data-focused as the guidance produced by the FAA and the
            National Academy.


        12. A review of these learned references reflects consideration of such factors as those
            listed in paragraph 8 above plus many, many other neutral factors. To the City of San
            Antonio’s credit, it too has considered many of these neutral factors in its terminal
            planning. The City’s analysis and evaluation did not, however, end with the
            consideration of neutral factors but included specific consideration of subjective factors
            which impermissibly impact the routes, rates, and services of non-regulated air carrier
            airlines.


        13. Only by adhering to rules and focusing on neutral facts can each airport fulfill its role
            within our national system of airports. In the United States at the federal level, no
            airport is viewed in a vacuum. Rather, we have a national system of airports
            substantially funded through federal aviation excise taxes and the revenue which each
            airport can generate for itself. Most of the approximately 3,300 federally-obligated
            airports in the system do not receive state or local funding, thus further highlighting
            that the focus should remain at the federal, systemic level. Operating and developing

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             a national system of airports also serves to emphasize that transportation is a
             fundamental government function and crucial to our national economy.

        14. It is thus especially important that City of San Antonio play by long-established rules
            at all levels in negotiating and forming airline use and lease agreements from time to
            time. The AULA specifically defines “Rules and Regulations” as “ . . . the lawful rules
            and regulations governing the conduct and operation of the Airport promulgated from
            time to time by the City or the Director, including without limitation the City’s duly
            adopted and generally applicable policies, operating directives, standard procedures,
            and the Airport Security Plan, in each case as such may be in force and amended from
            time to time.” So at the same time the City clearly acknowledges that its policies and
            operating procedure rise to the level of rules and regulations which must be obeyed by
            those using and operating on San Antonio International Airport, it must also
            acknowledge that there are federal authorities which also govern its business with
            airport users like air carrier airlines.


        15. The selection criteria adopted by the City had the force and effect of law because they
            were adopted for the purpose of determining which air carriers would obtain the
            significant competitive advantage of being able to operate from the fancy new terminal
            at SAT, and there are zero alternatives in San Antonio that would provide the same
            competitive advantage to any airline that was not able to be selected for inclusion in
            Terminal C.

        16. It is therefore my opinion to a reasonable degree of certainty and based on facts
            presently known to me that the City of San Antonio is not presently in compliance
            with its statutory obligations to the air carrier airlines serving San Antonio. The City
            has taken on for itself the consideration of factors, some subjective, which directly
            impact the routes and services of certificated air carrier airlines serving the City. Its
            attempt to do so is preempted by federal statute.
        .       (3) the identity of the airports or from AT.

                                                Respectfully Submitted,
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                                                Counsel for Plaintiff Southwest Airlines Co.

Dated: November 8, 2024

                                      CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2024, I caused a true and accurate copy of the
foregoing Plaintiff’s Designation of Testifying Expert Kirk Shaffer, Esq. to the City of San
Antonio, Texas to be served via email (pursuant to agreement of the parties) on the counsel who
have appeared for the Defendants as listed on the docket on Pacer for this matter.

                                                       /s/ Roy Goldberg
                                                       Roy Goldberg




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